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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                            OCALA DIVISION


 SAMUEL W. DRINKARD,

       Plaintiff,

 v.                                       Case No. 5:21-cv-220-JLB-PRL

 NATHAN PHILLIPS, et al.,

       Defendants.


          Plaintiff’s Unopposed Motion to Modify Scheduling Order

      Pursuant to Rule 16(b)(4) of the Federal Rules of Civil Procedure, Plaintiff

Samuel W. Drinkard files this motion to modify the Scheduling Order (Docs. 97

& 104) to extend the remaining deadlines by 90 days. This motion is unopposed.

I.    BACKGROUND

      This is a lawsuit brought by Mr. Drinkard, a state prisoner, concerning

claimed violations of the Eighth Amendment. (See, generally, Doc. 69). On June

12, 2024, Mr. Drinkard sought appointment of counsel, which the Court granted.

(Docs. 105 & 106). The undersigned agreed to represent Mr. Drinkard. (Doc. 107).

      Since the undersigned’s appearance, he has worked diligently to

understand what discovery has transpired in this case. He has been in touch with
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defense counsel and understands that only Mr. Drinkard has been deposed in

this case. The undersigned also understands that Defendants intend to take a

Rule 30(b)(6) deposition of the Florida Department of Corrections (FDOC) and

that they have not received all the documents and records they require from

FDOC to defend this case. At present, the undersigned possesses no documents

or records that could assist Mr. Drinkard in prosecuting this case. Since

appearing this week, the undersigned has given notice to defense that Mr.

Drinkard will promptly serve a circulated Rule 45 subpoena to FDOC to obtain

records necessary to prosecute this case. In addition, Mr. Drinkard will

necessarily need to depose the defendants in this case.

      Given the press of the undersigned’s schedule, the nature of slow

communication with incarcerated clients, and the need to provide FDOC with

time to respond to the subpoena (including the anticipated negotiation of a

protective order), there is no way that Mr. Drinkard can complete discovery by

August 5, 2024. (Doc. 104). Although the Court has cautioned the parties that no

further extensions would be granted absent extraordinary circumstances, the

undersigned requests that the Court provide one final extension of the deadlines




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to complete discovery so that Mr. Drinkard, now with the benefit of counsel, can

fully develop his case.

II.   MEMORANDUM OF LAW

      Under Rule 16, a scheduling order “may be modified only for good cause

and with the judge’s consent.” Fed. R. Civ. P. 16(b)(4). The good cause standard

“precludes modification unless the schedule cannot be met despite the diligence

of the party seeking the extension.” Harris v. Reverse Mortg. Solutions, Inc., 800 Fed.

Appx. 708, 711 (11th Cir. 2020) (citing Sosa v. Airprint Sys., Inc., 13 F.3d 1417, 1418

(11th Cir. 1998) (quotations omitted).

      Rule 16 of the Federal Rules of Civil procedure grants district courts the

power to police their dockets, including the imposition of deadlines. Mingo v.

Sugar Cane Growers Co-Op of Florida, 864 F.2d 101, 102 (11th Cir. 1989). If litigants

diligently pursue their rights but for reasons other than their own negligence are

unable to meet scheduling order deadlines, the court should exercise its discretion

and modify its scheduling order. Payne v. Ryder Systems, 173 F.R.D. 537, 539 (M.D.

Fla. 1997).

      Here, Mr. Drinkard is a state prisoner with limited resources and

understanding of the legal system and federal courts. Now with the benefit of



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counsel, he anticipates diligently and efficiently completing discovery within 90

days. If the schedule is not modified, however, he would suffer real prejudice by

not being able to adequately complete discovery in this case. Accordingly, Mr.

Drinkard seeks the following modification of deadlines:

                              Current Deadline          Proposed Deadline

 Discovery Deadline           August 5, 2024            November 4, 2024

 Meet and Confer Deadline     August 19, 2024           November 18, 2024

 Report Regarding             September 2, 2024         December 2, 2024
 Settlement

 Dispositive Motions          September 16, 2024        December 16, 2024


III.   CONCLUSION

       For the foregoing reasons, Plaintiff Samuel Drinkard respectfully requests

that the Court grant this motion and enter an order amending the Scheduling

Order to modify the deadlines as set forth in the above table.

                         Certificate of Good-Faith Conference

       I hereby certify that I conferred with counsel for Defendants. Defendants

do not oppose the relief requested herein.

Dated: July 11, 2024




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                                   Respectfully submitted,

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